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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                         Chapter 11
 In re:                                                             :
                                                                         Case No. 08-13555 (SCC)
 LEHMAN BROTHERS HOLDINGS INC., et al.                              :
                                                                         (Jointly Administered)
                                    Debtors.                        :
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                   STIPULATION, AGREEMENT AND ORDER REGARDING
                        CLAIMS NUMBER 37355 AND NUMBER 37356

          Lehman Brothers Holdings Inc. (“LBHI”), as Plan Administrator (the “Plan

 Administrator”) pursuant to the Modified Third Amended Joint Chapter 11 Plan of Lehman

 Brothers Holdings Inc. and its Affiliated Debtors (the “Plan”), and the Washington State

 Tobacco Settlement Authority (“Washington TSA” and, together with the Plan Administrator,

 the “Parties”), hereby stipulate and agree as follows:

                                                   RECITALS

                  A.       On November 5, 2002, Lehman Brothers Special Financing Inc.

 (“LBSF”), Washington TSA, and U.S. Bank, N.A., as Trustee, entered into that certain Reserve

 Fund Agreement relating to Washington TSA’s $517,905,000 Tobacco Settlement Authority

 Tobacco Settlement Asset-Backed Bonds, Series 2002 (the “RFA”).

                  B.       On March 26, 2003, LBSF, Washington TSA, and U.S. Bank, N.A.

 entered into an Amendment Agreement to amend the terms of the RFA (the “Amendment

 Agreement”), which is annexed hereto as Exhibit A.

                  C.       On September 15, 2008 and periodically thereafter, LBHI and certain of

 its subsidiaries commenced voluntary cases under chapter 11 of title 11 of the United States

 Code (the “Bankruptcy Code”) before the United States Bankruptcy Court for the Southern
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 District of New York (the “Court”), which cases are being jointly administered under Case No.

 08-13555 (SCC).

                D.      On March 25, 2009, the Court entered an Order Authorizing Rejection of

 Reserve Fund Agreement Pursuant to 11 U.S.C. § 365(a) (the “Rejection Order”). The Rejection

 Order authorized LBSF to reject the RFA, and the RFA was deemed rejected pursuant to 11

 U.S.C. § 365(a).

                E.      On July 2, 2009, the Court entered an order setting forth the procedures

 and deadlines for filing proofs of claim in these chapter 11 cases [Docket No. 4271] (the “Bar

 Date Order”). Pursuant to the Bar Date Order, the Court established September 22, 2009 as the

 deadline to file certain types of proofs of claim in these chapter 11 cases.

                F.      On September 17, 2009, Washington TSA timely filed claims against

 LBHI and LBSF, evidenced by proofs of claim numbers 14871 and 15016 (the “Original

 Claims”), respectively. The Original Claims assert that LBSF is liable to Washington TSA in an

 amount no less than $47,046,214.01 in connection with the RFA, and that LBHI is liable for the

 same as a guarantor of LBSF.

                G.      On October 12, 2009, Washington TSA timely amended the Original

 Claims against LBHI and LBSF, evidenced by proofs of claim numbers 37356 and 37355 (the

 “Amended Claims”), respectively. The Amended Claims assert that LBSF is liable to

 Washington TSA in an amount no less than $47,063,714.01 in connection with the RFA, and that

 LBHI is liable for the same as a guarantor of LBSF.

                H.      Neither the Original Claims nor the Amended Claims reflect the Parties’

 entry into the Amendment Agreement.




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                I.      On January 29, 2010, the Plan Administrator objected to the Original

 Claims in the Debtors’ Fourth Omnibus Objection to Claims (Amended and Superseded Claims),

 [Docket No. 6876]. On March 25, 2010, the Court entered an order expunging the Original

 Claims [Docket No. 7828].

                J.      On December 6, 2011, the Court entered an order confirming the Plan

 [Docket No. 23023] (the “Confirmation Order”). The Effective Date (as defined in the Plan)

 occurred on March 6, 2012 [Docket No. 26039].

                K.      Pursuant to section 6.1(b) of the Plan, the Plan Administrator is authorized

 to control and effectuate the claims reconciliation process with respect to claims filed against

 LBHI and LBSF.

                L.      Pursuant to paragraph 86 of the Confirmation Order, after the Effective

 Date, a proof of claim may not be filed or amended without authority of the Court.

                M.      On September 12, 2011, LBHI objected to the Amended Claims in the

 Debtors’ One Hundred Ninety-First Omnibus Objection to Claims (Valued Derivative Claims)

 [Docket No. 19888], seeking to reduced the Amended Claims amount to $4,325,931.16 (the

 “Claims Objection”).

                N.      On May 24, 2013, LBHI and Washington TSA jointly presented a Claims

 Litigation Schedule for the Objection of Debtors and Debtors in Possession to Claims of

 Washington Tobacco Settlement Authority [Docket No. 37558] (the “Litigation Schedule”).

                O.      The Parties have agreed that (i) the Amended Claims shall be amended to

 reflect the Amendment Agreement and its effects on the Amended Claims, (ii) the Claims

 Objection shall be amended and reduced to $0, and (iii) nothing herein shall be deemed to waive




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 LBSF’s right to file an Adversary Complaint after the Claims Hearing in the event that the Court

 finds LBSF is entitled to a recovery.

     NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED BY AND
 BETWEEN THE PARTIES, AND, UPON COURT APPROVAL HEREOF, IT SHALL BE
 ORDERED THAT:

                1.     This Stipulation and Order shall become effective once it has been

 executed by the Parties and approved by the Court (the “Stipulation Effective Date”).

                2.     As of the Stipulation Effective Date, the Amended Claims are hereby

 deemed amended to assert claims in the amount of $38,560,427, plus attorneys fees and costs.

                3.     As of the Stipulation Effective Date, the Claims Objection is hereby

 deemed have been amended to reduce the Modified Amounts (as defined in the Claims

 Objection) to $0 and to request that the Court disallow and expunge the Amended Claims in their

 entirety.

                4.     LBSF reserves its right to file an Adversary Complaint in the event that

 the Court finds LBSF is entitled to a recovery after the Claims Hearing, and Washington TSA

 reserves the right to assert any and all applicable defenses to any such Adversary Complaint.

                5.     Nothing in this Stipulation and Order shall affect (i) the Plan

 Administrator’s right to object to Washington TSA’s claims on any ground other than the timing

 and method of filing, or (ii) Washington TSA’s rights to prosecute its claims against the Plan

 Administrator or oppose any objections to its claims. For the avoidance of doubt, except as

 expressly set forth herein, this Stipulation and Order shall not alter, modify, amend or in any way

 affect the Amended Claims.

                6.     Nothing herein shall affect the Litigation Schedule.




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                 7.       The Parties authorize LBHI’s Court-approved claims agent, Epiq

 Bankruptcy Solutions, LLC, to modify the claims register to reflect the terms of this Stipulation

 and Order.

                 8.       This Stipulation and Order contains the entire agreement between the

 Parties as to the subject matter hereof and supersedes all prior agreements and undertakings

 between the Parties relating thereto.

                 9.       This Stipulation and Order shall be binding upon and inure solely to the

 benefit of the Parties hereto and their respective successors and assigns. Nothing contained

 herein, express or implied, is intended to or shall confer upon any other person or entity any legal

 or equitable right, benefit, or remedy of any nature whatsoever under or by reason of this

 Stipulation and Order.

                 10.      Each person who executes this Stipulation and Order represents that he or

 she is duly authorized to do so on behalf of the respective Party or Parties hereto and that each

 such party has full knowledge and has consented to this Stipulation and Order.

                 11.      This Stipulation and Order may be executed in counterparts, each of which

 shall be deemed an original but all of which together shall constitute one and the same

 instrument, and it shall constitute sufficient proof of this Stipulation and Order to present any

 copy, copies, electronic copies, or facsimiles signed by the Parties hereto to be charged.

                 12.      This Stipulation and Order shall be governed by and in accordance with

 the laws of the state of New York, except to the extent that the Bankruptcy Code applies, without

 regard to principles of conflicts of law that would require the application of laws of another

 jurisdiction.




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 Dated: New York, New York       RICH MICHAELSON MAGALIFF MOSER, LLP
        November 3, 2014
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                                 Robert N. Michaelson
                                 340 Madison Avenue, 19th Floor
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                                 Attorneys for Washington State Tobacco Settlement Authority

 Dated: New York, New York       JONES DAY
        November 2, 2014
                                 By: /s/ Laura W. Sawyer
                                 Jayant W. Tambe
                                 Laura W. Sawyer
                                 222 East 41st Street
                                 New York, New York 10017
                                 Telephone: (212) 326-3685
                                 Facsimile: (212) 755-7306

                                 Attorneys for the Debtors




 SO ORDERED:

 Dated: New York, New York
        November 3, 2014

                                             /S/ Shelley C. Chapman
                                             Honorable Shelley C. Chapman
                                             United States Bankruptcy Judge




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